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                                                                      January 4, 2021
VIA ECF
Hon. Gary R. Brown, U.S.D.J.
100 Federal Plaza, Courtroom 840
Central Islip, NY 11722-9014

Re:     Caccavale, et. al. v. Hewlett-Packard Company a/k/a HP Inc. et. al.
        Docket No: 20-cv-00974(GRB)(AKT)

Dear Judge Brown:

        This firm represents Plaintiffs in the above referenced matter. This letter is written in
opposition to Defendants Hewlett-Packard Company a/k/a HP Inc. and Hewlett Packard
Enterprise Company’s (“Defendants”) letter (DE 57) seeking leave to move to dismiss Plaintiffs’
second amended complaint (“SAC”)(DE 55). New York Labor Law (“NYLL”) § 191(1)(a)
requires that manual workers be paid on a weekly basis and not later than seven calendar days
after the end of the week in which the wages are earned. During their employment with
Defendants, Plaintiffs worked as Field Service Engineers, to wit, as manual workers, and were
paid on a bi-weekly basis/later than seven calendar days after the end of the week in which
wages were earned (DE 55, ¶ 19-67). As such, Plaintiffs are entitled to liquidated damages
pursuant to NYLL §198(1-a). Defendants’ letter incorrectly argues that NYLL §198(1-a)
purportedly does not provide a private right of action for liquidated damages for “late” wages.1

                                          Decisional Framework

        While Defendants note that there is no binding authority on the issue at bar, they ignore
the balance of the salient decisional framework. Specifically, a District Court is required to
apply the law as interpreted by the New York State Appellate Division unless it is convinced that
the Court of Appeals would reach a different conclusion. Phila. Indem. Ins. Co. v. Indian
Harbor Ins. Co., 434 F. Supp. 3d 4, 10 (E.D.N.Y. 2020); Blue Cross & Blue Shield of N.J., Inc.
v. Philip Morris USA Inc., 344 F.3d 211, 221 (2d Cir. 2003).

              Vega Establishes That Plaintiffs’ NYLL §191(1)(a) Claims Are Valid

        In Vega v. CM & Assoc. Constr. Mgt., L.L.C., 175 A.D.3d 1144 (1st Dep’t Sept. 10,
2019), the only Appellate Division case on point, the Court expressly held that there are both
explicit and implicit private rights of action for violations of NYLL § 191(1)(a), the remedies for
which, including liquidated damages, are provided by NYLL § 198(1-a). Vega, 175 A.D.3d at
1146-1147. Moreover, Vega expressly rejected the exact argument the Defendants herein raise

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 To the extent Defendants are permitted to move to dismiss Plaintiffs’ NYLL § 195(3) claim, Plaintiffs would
oppose such motion as set forth in Plaintiffs’ July 6, 2020 letter (DE 30).



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stating, “Defendant’s position that no private right of action exists is dependent on its erroneous
assertion that the late payment of wages is not an underpayment of wages.” Vega, 175 A.D.3d at
1146.

       There Is No Reason To Believe The Court of Appeals Would Deviate From Vega

        The leading case in this District on the pertinent issues is Scott v. Whole Foods Mkt. Grp.,
Inc., 2019 U.S. Dist. LEXIS 61726 (E.D.N.Y. Apr. 9, 2019), where, on facts virtually identical to
those before this Court, the Court held that, at minimum, there is an implied private right of
action for violation of NYLL § 191(1)(a) the remedies for which, including liquidated damages,
are provided by NYLL § 198(1-a). Id. at *6-11. The Scott Court also expressly rejected the
Defendants’ argument concerning “late” versus unpaid wages. Id. at *13.

        Other cases on both the state and federal level establish that Plaintiffs’ NYLL § 191(1)(a)
causes of action are valid. In Rojas v. Hi-Tech Metals, Inc., 2019 N.Y. Misc. Lexis 5046, *7
(Queens County Sup. Ct. 2019), the Court, in light of Vega, denied defendant’s motion to
dismiss plaintiff's NYLL §§ 191(1)(a) and 198(1-a) claims. In Quintanilla v. Kabco
Pharmaceuticals Inc., decided in June 2020, the Hon. Pamela K. Chen, U.S.D.J. overturned her
prior decision in Coley v. Vannguard Urban Improvement Ass'n, 2018 U.S. Dist. LEXIS 50787
(E.D.N.Y. Mar. 27, 2018), acknowledged an obligation to follow Vega, and refused to dismiss
plaintiff’s NYLL § 191(1)(a) claim. Exhibit A, p. 16-19. In November 2020, Magistrate Judge
Steven Locke issued a report and recommendation to District Judge Joanna Seybert
recommending that a defendant’s motion seeking to dismiss a NYLL § 191(1)(a) claim on the
grounds that there was no private right of action be denied. Sorto v. Diversified Maint. Sys.,
2020 U.S. Dist. LEXIS 216328, at *7 (E.D.N.Y. Nov. 15, 2020). Judge Locke relied on the
holdings of Vega and Scott and expressly rejected Arciello v. Cty. of Nassau, 2019 U.S. Dist.
LEXIS 161167 (E.D.N.Y. Sep. 20, 2019) and Phillips v. Max Finkelstein, Inc., 115 N.Y.S.3d
866 (Suffolk Cnty. Ct. 2019), on which Defendants herein rely,2 as the former was rendered prior
to Vega’s dissemination and as the Second Department case on which the latter relied did not
address the existence of a private right of action. Id., at *3-7. On December 28, 2020, Judge
Seybert adopted Judge Locke’s report and recommendation in its in entirety, stating that she was
persuaded by and obligated to follow Vega, that Phillips did not warrant a departure from Vega,
and that she disagreed with Arciello. Exhibit B, p. 4-7.3

        Finally, Defendants’ argument that a cause of action should not be implied by this Court
due to the existence of NYLL § 218 is refuted by the holdings of Vega and Scott as well as
NYLL § 218(4) which provides that the civil penalty provided in NYLL § 218 shall be in
addition to and imposed with other remedies.

                                                     Respectfully Submitted,
                                                     By:
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  Belizaire v. Rav Investigative & Sec. Servs. 61 F. Supp. 3d 336, 360 n.22 (S.D.N.Y. 2014) and Hunter v. Planned
Bldg. Servs., Inc., 2018 WL 3392476 (N.Y. Sup. Ct 2018) on which Defendants also rely were rendered pre-Vega.
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  Also of note, in Spiro v. The Commissioner of Labor the State of New York Industrial Board of Appeals awarded
liquidated damages pursuant to NYLL § 198 where there was a NYLL § 191(1)(a) violation. Exhibit C, p. 6.




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